     Case: 1:20-cv-07760 Document #: 40 Filed: 06/29/22 Page 1 of 1 PageID #:440

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Sydney Dillard
                             Plaintiff,
v.                                                 Case No.: 1:20−cv−07760
                                                   Honorable John Robert Blakey
DePaul University
                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 29, 2022:


         MINUTE entry before the Honorable John Robert Blakey:The Court grants
Defendant's unopposed motion for leave to file under seal [33] and also grants Defendant's
motion for protective order [35]. This Court previously extended fact discovery for the
limited purpose of allowing Defendant to depose Plaintiff's neurologist. Although the
parties' 5/27/22 status report indicated that Plaintiff had expressed an interest in deposing
two additional witnesses (which this Court assumes are the same witnesses referenced in
Defendant's current motion), Plaintiff did not seek an extension of the 6/10/22 fact
discovery deadline to depose these witnesses. The 6/30/22 Notice of Motion date is
stricken. Mailed notice (gel,)




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